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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

JACQUES RIVERA,                                       )
                                                      )          No. 12 C 4428
               Plaintiff,                             )
                                                      )          Hon. Joan B. Gottschall,
               v.                                     )          District Judge
                                                      )
REYNALDO GUEVARA, et al.,                             )          Hon. Mary M. Rowland,
                                                      )          Magistrate Judge
               Defendants.                            )
                                                      )          JURY TRIAL DEMANDED


                         PLAINTIFF’S SUPPLEMENTAL DEFINITION
                    FOR INCLUSION IN THE DUE PROCESS INSTRUCTION

       Plaintiff JACQUES RIVERA, by his attorneys, respectfully submits the following

SUPPLEE:

       1.           With apologies to the Court for the last-minute submission, Plaintiff respectfully

proposes that the Court add a sentence to the definition of “material” in the due process

instruction.

       2.           Specifically, Plaintiff submits that a second sentence should be added to that

definition reading: “You should consider whether evidence was material by considering all

evidence that was suppressed cumulatively, rather than examining each piece of evidence

in isolation.”

       3.           The Supreme Court has stressed recently that this cumulative examination of

evidence is important to Brady claims. Wearry v. Cain, 136 S. Ct. 1002, 1007 (2016); Kyles v.

Whitley, 514 U.S. 419, 441 (1995). Plaintiff thinks the instruction is important in this case.

       4.           Plaintiff has conferred with Defendants, and Defendants object to this addition on

the ground that the Court already determined it will use the pattern instruction, and because the
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additional definitional language is not part of the pattern instruction, is cumulative, and is

unnecessary.



                                               Respectfully submitted,


                                               JACQUES RIVERA

                                       By:     /s/ Jon Loevy
                                               One of Plaintiff’s Attorneys

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                                CERTIFICATE OF SERVICE


       I, Jon Loevy, an attorney, hereby certify that on June 26, 2018, I filed the foregoing via

the Court’s CM/ECF system and thereby served a copy on all counsel of record.



                                             /s/ Jon Loevy
                                             One of Plaintiff’s Attorneys
